Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 1 of 27 Page ID #:3572




     1 JOIE MARIE GALLO (SBN 178064)
       joie.gallo@roll.com
     2 MICHAEL M. VASSEGHI (SBN 210737)
       michael.vasseghi@roll.com
     3 DANIELLE M. CRIONA (SBN 204074)
       danielle.criona@roll.com
     4 ROLL LAW GROUP PC
       11444 West Olympic Boulevard
     5 Los Angeles, California 90064-1557
       Telephone: (310) 966-8400
     6 Facsimile: (310) 966-8810
     7 Attorneys for Plaintiffs
       POM WONDERFUL LLC, and THE
     8 WONDERFUL COMPANY LLC
     9
    10                            UNITED STATES DISTRICT COURT
    11            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    12
    13 POM WONDERFUL LLC, a Delaware                  Case No. CV13-06917-RGK (JPRx)
       limited liability company, and THE
    14 WONDERFUL COMPANY LLC                          PLAINTIFFS’ NOTICE OF
                                                      MOTION AND MOTION FOR
    15                   Plaintiffs,                  SUMMARY JUDGMENT, AND
                                                      SUMMARY ADJUDICATION OF
    16            vs.                                 DEFENDANT’S AFFIRMATIVE
                                                      DEFENSES/COUNTER CLAIMS
    17 ROBERT G. HUBBARD d/b/a PUR                    FOR ABANDONMENT,
       BEVERAGES, PORTLAND                            GENERICNESS AND FRAUD
    18 BOTTLING COMPANY an Oregonian
       company, and DOES 1 through 10,                [Declarations of Danielle Criona,
    19 inclusive,                                     Michael Vasseghi and Molly Flynn, and
                                                      Separate Statement of Undisputed Facts
    20                   Defendants.                  filed and [Proposed] Order lodged
                                                      concurrently herewith]
    21
         AND RELATED COUNTERCLAIM.                    Date:   June 13, 2016
    22                                                Time: 9:00 a.m.
                                                      Crtrm.: 850
    23
                                                      [Hon. R. Gary Klausner]
    24
    25
    26
    27
    28
         {2557980.4}
                        PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 2 of 27 Page ID #:3573




     1            TO DEFENDANT AND HIS ATTORNEYS OF RECORD:
     2            PLEASE TAKE NOTICE THAT on June 13, 2016, at 9:00 a.m. or as soon
     3 thereafter as the matter may be heard, in Courtroom 850 of the United States District
     4 Court for the Central District of California, 255 East Temple Street Los Angeles,
     5 CA 90012-3332, Plaintiffs POM Wonderful LLC and The Wonderful Company
     6 LLC (collectively “POM Wonderful”) will and hereby do move this Court for
     7 summary judgment as a matter of law on the grounds that there is no genuine issue
     8 as to any material fact and plaintiffs are entitled to judgment as a matter of law as to
     9 liability on the first claim asserted in POM Wonderful’s Second Amended
    10 Complaint filed February 3, 2016 for trademark infringement pursuant to 15 U.S.C.
    11 Section 1114. Since summary judgment is warranted on POM Wonderful’s
    12 infringement claim, it is also warranted for Pom Wonderful’s second claim for false
    13 designation of origin under 15 U.S.C. §1125(a), its third claim for unfair
    14 competition under Business & Professions Code §17200 and its fourth claim for
    15 unfair competition under California common law as a matter of law.
    16            POM Wonderful also moves for summary adjudication on Defendant’s
    17 affirmative defenses/counter claims of abandonment, fraud and genericness.
    18 Defendant has the burden of proof on these affirmative defenses/counterclaims and
    19 POM Wonderful has established that there is no competent evidence in support of
    20 any of these defenses/counterclaims.
    21            This Motion is based upon this Notice of Motion and Motion, the
    22 accompanying Memorandum of Points and Authorities, the Declarations of Molly
    23 Flynn, Danielle Criona and Michael Vasseghi, the deposition testimonies of Robert
    24 Hubbard, Craig Cooper and Molly Flynn, all the pleadings and papers on file in this
    25 action, and upon such other matters as may be presented to the Court at any hearing
    26 on the Motion.
    27 ///
    28 ///
         {2557980.4} {2557980.3}                       1
                          PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 3 of 27 Page ID #:3574




     1            The meet and confer conference as required by Local Rule 7-3, took place on
     2 April 21, 2016, between Defendant Robert Hubbard, pro se, and POM Wonderful’s
     3 counsel.
     4
     5 DATED: May 16, 2016                    ROLL LAW GROUP PC
     6
     7
                                              By:         /s/ Michael M. Vasseghi
     8
                                                    Michael M. Vasseghi
     9                                              Attorneys for Plaintiffs
    10                                              POM WONDERFUL LLC, and THE
                                                    WONDERFUL COMPANY LLC
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         {2557980.4}                                 2
                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 4 of 27 Page ID #:3575




     1                                            TABLE OF CONTENTS
     2                                                                                                                         Page
     3 I.         INTRODUCTION ............................................................................................. 1
     4 II.        FACTUAL BACKGROUND ........................................................................... 2
     5            A.      POM Wonderful ...................................................................................... 2
     6            B.      The POM® Brand Intellectual Property ................................................. 2
     7            C.      POM Wonderful’s Trademark Enforcement Activities and Third
                          Parties’ Acknowledgment of POM Wonderful’s Rights In
     8                    POM® ..................................................................................................... 2
     9 III.       LEGAL ARGUMENT ...................................................................................... 3
    10            A.      Infringement And Summary Judgment Legal Standard ......................... 3
    11            B.      POM Wonderful Owns Valid Protectable Trademarks .......................... 3
    12                    1.       The POM® Mark is Registered, Incontestable, And
                                   Therefore Cannot be Attacked for Being Descriptive .................. 3
    13
                          2.       POM Wonderful Never Abandoned The POM Trademark ......... 4
    14
                          3.       POM Is Not a Generic Word ........................................................ 7
    15
                          4.       Hubbard Has No Evidence POM Wonderful Committed
    16                             Fraud ........................................................................................... 10
    17            C.      Hubbard Has Admitted That POM and pŏm Create a Likelihood
                          of Confusion .......................................................................................... 11
    18
                  D.      The Ninth Circuit Has Held That Under Sleekcraft pŏm Is Likely
    19                    to Cause Confusion With POM Wonderful’s POM Trademark ........... 12
    20                    1.       There is No Competent Evidence To Create a Triable
                                   Issue of Fact That POM Wonderful’s Trademarks Are
    21                             Strong .......................................................................................... 13
    22                    2.       There is No Competent Evidence To Create a Triable
                                   Issue of Fact That POM® and pŏm Are Similar ........................ 14
    23
                          3.       There Is No Competent Evidence To Create a Triable
    24                             Issue of Fact That The Products Are Related ............................. 16
    25                    4.       There Is No Competent Evidence To Create a Triable
                                   Issue of Fact That Pom’s and Hubbard’s Products Flow
    26                             Through the Same Marketing And Trade Channels ................... 17
    27                    5.       There is No Competent Evidence To Create a Triable
                                   Issue of Fact That Given The Types Of Goods At Issue,
    28                             The Degree Of Care Likely Exercised By Consumers Is

         {2557980.4}                                                  i
                        PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 5 of 27 Page ID #:3576




     1                             Low ............................................................................................. 18
     2                    6.       There Are No Material Issues Of Fact With Respect To
                                   The Remaining Three Sleekcraft Factors All Of Which
     3                             Are Neutral And Do Not Affect a Finding Of Likelihood
                                   of Confusion. .............................................................................. 18
     4
                  E.      POM Wonderful Is Entitled To Summary Judgment On Its
     5                    Remaining Claims. ................................................................................ 20
     6 IV.        CONCLUSION ............................................................................................... 20
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         {2557980.4}                                                  ii
                        PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 6 of 27 Page ID #:3577




     1                                           TABLE OF AUTHORITIES
     2                                                                                                                      Page
     3
          CASES
     4
          Academy of Motion Picture Arts v. Creative House
     5         944 F.2d 1446 (9th Cir. 1991) ......................................................................... 19
     6 Accuride Int’l, Inc. v. Accuride Corp.
             871 F.2d 1531 (9th Cir. 1989) ......................................................................... 14
     7
       Apple Computer, Inc. v. Formula Int’l. Inc.
     8       725 F.2d 521 (9th Cir. 1984) ............................................................................ 13
     9 Conversive, Inc. v. Conversagent, Inc.
            433 F. Supp. 2d 1079 (C.D. Cal. 2006)........................................................... 20
    10
       CSC Brands LP v. Herdez Corp.
    11      191 F.Supp.2d 1145 (E.D. Cal. 2001) ............................................................. 18
    12 E. & J. Gallo Winery v. Gallo Cattle Co.
             955 F.2d 1327, modified on other grounds, 967 F.2d 1280 (9th Cir.
    13       1992) .......................................................................................................... 13, 20
    14 Filipino Yellow Pages, Inc. v. Asian Journal Publications, Inc.
              198 F.3d 1143 (9th Cir. 1999) ....................................................................... 7, 8
    15
       GoTo.com, Inc. v. Walt Disney Co.
    16        202 F.3d 1199 (9th Cir. 2000) ....................................................... 13, 15, 19, 20
    17 Imperial Tobacco Ltd., v. Philip Morris, Inc.
              899 F.2d 1575 (Fed. Cir. 1990) ......................................................................... 5
    18
       In re Bose Corp.
    19        580 F.3d 1240 (Fed. Cir. 2009) ................................................................. 10, 11
    20 In re wTe Corporation
              87 USPQ2d 1536 (TTAB 2008).................................................................... 6, 7
    21
       Kendall-Jackson Winery, Ltd. v. E. & J. Gallo Winery
    22        150 F.3d 1042 (9th Cir. 1998) ......................................................................... 13
    23 KP Permanent Make-Up,     Inc. v. Lasting Impression, Inc.
             543 U.S. 111 (9th Cir. 2004) .......................................................................... 3, 7
    24
       Lois Sportswear, U.S.A., Inc. v. Levi Strauss & Co.
    25       799 F.2d 867 (2nd Cir. 1986) .......................................................................... 19
    26 Marshall Field & Co. v. Mrs. Fields Cookies
             11 USPQ2d 1355 (TTAB 1989)........................................................................ 5
    27
       Nutri/System, Inc. v. Con-Stan Indus., Inc.
    28       809 F.2d 601 (9th Cir. 1987) ............................................................................ 17

          {2557980.4}                                                 iii
                          PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 7 of 27 Page ID #:3578




     1 Oculu, LLC v. Oculus VR, Inc.
              2015 WL 3619204 (C.D. Cal. June 8, 2015) .................................................. 19
     2
       Official Airline Guides v. Goss
     3        6 F.3d 1385 (9th Cir. 1993) ............................................................................. 13
     4 Park ‘n Fly, Inc. v. Dollar Park ‘n Fly, Inc.
             469 U.S. 189 (1985) .......................................................................................... 4
     5
       Pom Wonderful LLC v. Hubbard
     6       775 F.3d 1118 (9th Cir. 2014) ................................................................ 1, 16, 20
     7 Rearden LLC v. Rearden Commerce, Inc.
             683 F.3d 1190 (9th Cir. 2012) ......................................................................... 12
     8
       Surfvivor Media, Inc. v. Survivor Prods.
     9       406 F.3d 625 (9th Cir. 2005) ............................................................................ 19
    10 Tri-Star Pictures, Inc. v. Unger
             14 F.Supp.2d 339 (S.D.N.Y. 1998) ................................................................. 18
    11
       Yellow Cab Co. of Sacramento v. Yellow Cab of Elk Grove, Inc.
    12       419 F.3d 925 (9th Cir. 2005) ............................................................................. 9
    13
          STATUTES
    14
          15 U.S.C. § 1057(b) ..................................................................................................... 3
    15
          15 U.S.C. § 1115(b) ..................................................................................................... 4
    16
    17 TREATISES
    18 1 J. Thomas McCarthy, Trademarks and Unfair Competition § 12.01 (3d
              Ed.1992) ............................................................................................................ 8
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
          {2557980.4}                                                  iv
                          PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 8 of 27 Page ID #:3579




     1 I.         INTRODUCTION
     2            Under its POM trademark, Pom Wonderful (“PW”) sells what is likely the
     3 most well-known pomegranate-based product in the United States. POM Wonderful
     4 coined the “pom” mark. It is not a word in a dictionary to mean pomegranate nor an
     5 abbreviation for it. Hubbard chose to use the POM trademark in the form of “pŏm” in
     6 connection with his own pomegranate based beverage.
     7            Hubbard claims PW has abandoned its POM trademark because it is used on
     8 its product in the following manner:          . Hubbard also incorrectly claims that PW
     9 committed fraud on the United States Patent and Trademark Office (“USPTO”) by
    10 submitting an image of its product that utilizes         as evidence of use of POM.
    11 Finally, Hubbard has taken the unsupportable position that the POM trademark has
    12 become generic. All of Hubbard’s defenses lack merit as a matter of law.
    13            First, PW’s use of POM® with a stylized “O” as         does not result in
    14 abandonment as a matter of law because a standard character mark can be depicted
    15 with some stylization or design as part of the mark. Second, Hubbard cannot
    16 establish fraud as a matter of law. The Trademark Trial and Appeal Board
    17 (“TTAB”) has accepted             as proper use of POM. Third, POM is not generic.
    18 PW actively polices and protects its mark from being used in a generic manner.
    19            To establish trademark infringement, this Circuit employs its Sleekcraft test for
    20 likelihood of confusion. The Ninth Circuit has already held in this case, 1) the
    21 similarity of marks, 2) the products on which the marks are placed, 3) the channels of
    22 trade where the products are sold, 4) the advertising for those products, and 5) the
    23 target consumers for the products, are either identical or nearly identical. Pom
    24 Wonderful LLC v. Hubbard, 775 F.3d 1118 (9th Cir. 2014). Courts routinely grant
    25 summary judgment when only several of the more important factors tip in one party’s
    26 favor. Finally, Hubbard himself has admitted to likelihood of confusion.
    27            There is no competent evidence to create a triable issue of fact that 1) PW has
    28 a valid, registered trademark and 2) that a likelihood of confusion exists between
         {2557980.4}                                  1
                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 9 of 27 Page ID #:3580




     1 pŏm and POM. PW’s motion should be granted.
     2 II.        FACTUAL BACKGROUND
     3            A.    POM Wonderful
     4            POM has been used in connection with beverages since 2002. (SUF 1). PW
     5 has invested tens of millions of dollars in the creation, development, production,
     6 marketing and sales of the POM® brand and its products. (SUF 2). PW’s
     7 advertisements include Sunday newspaper inserts, in-store promotions, print media,
     8 billboards in select geographic areas, and television commercial campaigns. (SUF
     9 3). The POM brand pomegranate juice is sold in every state. (SUF 4). Domestic
    10 sales exceed one-quarter of a billion bottles since 2002. (SUF 5). PW’s
    11 pomegranate juice, is sold to consumers in supermarkets. (SUF 6).
    12            B.    The POM® Brand Intellectual Property
    13            PW owns numerous trademark registrations and pending applications in the
    14 U.S. for its POM mark. (SUF 7). The POM brand trademarks are used in
    15 connection with various goods like fresh pomegranate fruit, pomegranate juice, juice
    16 blends and pomegranate flavored teas. (SUF 8). The POM trademark is an
    17 extremely valuable and highly protected component of PW’s business. Hubbard
    18 cannot claim that he wanted to use “pŏm” because it is an abbreviation or short hand
    19 for pomegranate. Even though “pom” is the first syllable of the word pomegranate,
    20 it is not an abbreviation for it. “Pom” has no independent meaning and is not in the
    21 dictionary to mean pomegranate. (SUF 9).
    22            C.     POM Wonderful’s Trademark Enforcement Activities and Third
                         Parties’ Acknowledgment of POM Wonderful’s Rights In POM®
    23            Prior to PW’s adoption and use of POM, no one in the food or beverage
    24 industry was known to be using “pom” in any way. (SUF 10). PW actively polices
    25 third-party uses that it believes infringe its rights in the POM® family of marks.
    26 PW has sent out at least 100 cease and desist letters in the past 7 years to stop
    27 infringers. (SUF 11). PW has required third-parties to modify their names and/or
    28 marks so as to avoid infringing PW’s rights. (SUF 12).
         {2557980.4}                                2
                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 10 of 27 Page ID
                                 #:3581



  1            When third party infringers have refused to acknowledge its intellectual
  2 property rights, PW has engaged in litigation. It has been involved in eight lawsuits
  3 to protect its POM mark. (SUF 12). One lawsuit was against an energy drink
  4 manufacturer that marketed an energy drink beverage called “BLU POM” (SUF 13).
  5 The case settled after that party agreed to stop its infringement. (SUF 13). Another
  6 litigation stopped a company from using “Pom Tea” (SUF 14). One company used
  7 “PerfectPoms” on a pomegranate product which it agreed to change to PerfectGems.
  8 (SUF 15). A cereal company selling a product called “Blue Pom Wheat-fuls”
  9 changed its name to “Blueberry Wheatfuls”. (SUF 16). Dairy Queen sold a
 10 “BERRY-POM”, but after litigation, it removed “POM” from its product’s name.
 11 (SUF 17). These successful policing efforts evidence PW’s valid and enforcable
 12 rights in the POM trademark, rather than a generic word that anyone can use.
 13 III.        LEGAL ARGUMENT
 14            A.    Infringement And Summary Judgment Legal Standard
 15            To prevail on a claim of trademark infringement, PW must prove (a) its owns
 16 protectable trademarks, and that (b) the alleged infringer’s imitating mark is similar
 17 enough to cause a likelihood of confusion, or to cause mistake, or deceive
 18 consumers. KP Permanent Make-Up, Inc. v. Lasting Impression, Inc., 543 U.S. 111,
 19 117 (9th Cir. 2004). Summary judgment is appropriate when the non-moving party
 20 has no “competent evidence” with which to create a triable issue of material fact.
 21 Zoslaw v. MCA Distrib. Corp., 693 F.2d 870, 883 (9th Cir. 1982).
 22            B.    POM Wonderful Owns Valid Protectable Trademarks
 23                  1.  The POM® Mark is Registered, Incontestable, And
                         Therefore Cannot be Attacked for Being Descriptive
 24            PW owns many valid and protectable trademarks, evidenced by their
 25 certificates of registration. (SUF 18). A certificate of registration constitutes
 26 “prima facie evidence of the validity of the trademark and of the facts stated in the
 27 certificate.” 15 U.S.C. § 1057(b). Moreover, several of PW’s registered
 28 trademarks, including POM and             are incontestable pursuant to 15 U.S.C.

      {2557980.4}                                  3
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 11 of 27 Page ID
                                 #:3582



  1 Section 1065. Incontestable marks are those which have been registered with the
  2 USPTO for more than five years. The effect of incontestability is set forth in
  3 Section 33(b) of the Lanham Act:
  4            [The incontestable] registration shall be conclusive evidence of the validity of
               the registered mark and of the registration of the mark, of the registrant’s
  5            ownership of the mark, and of the registrant’s exclusive right to use the
               registered mark in commerce ... on or in connection with the goods or
  6            services specified in the affidavit filed under the provisions of section
               1065….
  7
      15 U.S.C. § 1115(b). Accordingly, PW’s registered trademarks are presumed valid.
  8
               Hubbard used pŏm as a shorthand to describe the pomegranate flavor of his
  9
      drink. (SUF 19). But, the U.S. Supreme Court has ruled that the incontestability
 10
      status of the marks precludes Hubbard from challenging POM or             for being
 11
      descriptive of the word pomegranate. In Park ‘n Fly, Inc. v. Dollar Park ‘n Fly,
 12
      Inc., 469 U.S. 189 (1985) the Court held that incontestable marks cannot be
 13
      challenged on grounds of descriptiveness. Id. at 196-197.
 14
               “Pom” is not a word with meaning, it is a registered trademark - POM - and
 15
      that trademark has reached incontestable status and cannot be attacked on grounds
 16
      of mere descriptiveness. Therefore Hubbard’s use of pŏm is use of a non-
 17
      descriptive, incontestable, registered trademark. Hubbard’s attempt to excuse his
 18
      use by saying pŏm describes his product is the very thing the Supreme Court
 19
      prohibits him from doing.
 20
                     2.     POM Wonderful Never Abandoned The POM Trademark
 21
               One of Hubbard’s affirmative defenses/counter claims is for abandonment of
 22
      the POM® trademark. Hubbard theorizes that because PW uses a stylized “O” in
 23
      the form of         (rather than POM®) on its product, it no longer uses POM, and as a
 24
      result of this non-use has abandoned the POM trademark. Decisions from both the
 25
      USPTO and the Ninth Circuit have disemboweled Hubbard’s theory. Specifically,
 26
      the Ninth Circuit in this case has held:
 27
               Importantly, Pom Wonderful’s exclusive right to use the “POM” mark covers
 28            all design variations of the word because “POM” was registered as a

      {2557980.4}                                   4
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 12 of 27 Page ID
                                 #:3583



  1            standard character mark. Standard character registrations “are federal mark
               registrations that make no claim to any particular font style, color, or size of
  2            display.” Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d 1344, 1349
               (Fed.Cir. 2011). Because a word registered in standard characters is “not
  3            limited to any particular rendition of the mark,” In re Mighty Leaf Tea, 601
               F.3d 1342, 1348 (Fed. Cir. 2010) (internal quotation marks omitted), the
  4            registration covers the word per se, 3 McCarthy on Trademarks and Unfair
               Competition § 19:58 (4th ed.) (updated Sept. 2014). Therefore, Pom
  5            Wonderful’s exclusive right to use its “POM” standard character mark is
               extremely broad, covering the word in all types of depictions.
  6
      Pom Wonderful supra at 1125 (9th Cir. 2014)(emphasis added).
  7
               Here, PW’s use of         is a stylized variation of the POM trademark, and
  8
      therefore an accepted use of POM.1 Even the USPTO – the authority on what
  9
      constitutes proper trademark use in commerce - has determined that           is a proper
 10
      and valid use of POM. The USPTO requires proof of use of trademarks in order to
 11
      maintain their registration. For years and for many of the POM standard character
 12
      word marks, PW has submitted images of its products containing the stylized “O”,
 13
      i.e.          , as a specimen for, and proof of use of, the POM trademark. (SUF 20). A
 14
      specimen is usually a picture of the product that bears the registered trademark.
 15
               The very purpose of a specimen is “to show the mark as it is actually used.”
 16
      Marshall Field & Co. v. Mrs. Fields Cookies, 11 USPQ2d 1355, *4 (TTAB 1989).
 17
      Since it was being used, the POM® mark cannot be abandoned since abandonment
 18
      is based on non-use of a mark. Imperial Tobacco Ltd., v. Philip Morris, Inc., 899
 19
      F.2d 1575, 1577 (Fed. Cir. 1990). The examining attorney at the USPTO never
 20
      rejected the specimen as not constituting use of POM. The reason for this is simple:
 21
      the           mark is not “pm with a heart in the middle,” or “p-heart-m” as Hubbard
 22
      claims, but instead, the         mark is “POM with a stylized ‘O’”. Therefore, the
 23
 24   1
     The use of a design in lieu of a letter, especially the letter “O”, in trademarks that
 25 are registered as a standard character marks is not unique or even uncommon. For
 26 example, the marks WOWERFUL,                           , TROMAX                 , REVOX
 27              and IROAR          are all registered as standard character trademarks,
    yet all of them have a design in place of the letter “O”, on their respective goods as
 28 used in commerce. (SUF 24).
      {2557980.4}                                    5
                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 13 of 27 Page ID
                                 #:3584



  1 POM® mark is inherently included in             and a specimen showing use of
  2 inherently includes the use of POM as a matter of law.
  3            In re wTe Corporation, 87 USPQ2d 1536 (TTAB 2008) is instructive and
  4 illustrates the point that a trademark as registered, versus, as it is used in commerce,
  5 can vary yet still constitute appropriate use. In In re wTe Corporation, applicant
  6 sought to register the standard character mark for SPECTRAMET. In the specimen
  7 provided for the registration, the letter “c” was replaced with the following double
  8 arrow design:                . The Examining Attorney refused the registration on the
  9 grounds that SPECTRAMET was not the same as                          since the “c” in the
 10 specimen was not a “c” but a double arrow design. Applicant appealed arguing that
 11 “there is no corresponding requirement that, however, that [sic] the commercial use
 12 of the mark should match the same generic typed form.” Id. at *2. The Board
 13 agreed with applicant, reversed the Examiner’s decision, and held that
 14 was an acceptable specimen and use for the SPECTRAMET typed drawing mark.
 15            The appropriate issues to consider are whether      and POM are “the same
 16 in essence and is recognizable regardless of the form or manner of display,” In re
 17 wTe Corporation at *2, and whether the marks create the same commercial
 18 impression. “[T]he arrow design is not a very significant element and the mark in
 19 the drawing and the specimens remain ‘in essence the same’”. In re wTe
 20 Corporation at *2. “There would be little reason for consumers to view the mark as
 21 displayed on the specimen as anything other than SPECTRAMET.” Id.
 22            Similarly here, there is no evidence that anyone reads       as anything but
 23 POM. PW’s Director of Marketing testified that in all her years at the company, not
 24 once did anyone question how            should be read. (SUF 21). Even Hubbard
 25 himself, at his deposition picked up one of PW’s juice products (containing               on
 26 the label) and when asked to read the label, read it as POM. (SUF 22). For this
 27 reason, time and again, a specimen showing the use of               on a product has been
 28 accepted as an appropriate specimen for, and evidence of use of, the POM standard
      {2557980.4}                                  6
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 14 of 27 Page ID
                                 #:3585



  1 character mark.
  2            The rationale for why the specimen in this case, bearing     , constitutes
  3 acceptable use of POM is explained by the TTAB in In re wTe Corporation:
  4            We agree with applicant that when an applicant submits a standard character
               drawing it will often not be an ‘exact representation’ of the mark shown on
  5            the drawing because the very purpose of the typed or standard character
               drawing rule is to permit an applicant to apply for a mark without showing
  6            any particular style or design. The mere fact that there is a design element
               associated with the word in the mark does not prevent an applicant from
  7            using a typed or standard character drawing.
  8 In re wTe Corporation. at *3 (emphasis added). In fact, the USPTO has contemplated
  9 instances where the specimen/use in commerce is not identical to the typed drawing
 10 submitted for registration, nevertheless confers rights to and use of the typed drawing:
 11          The USPTO encourages the use of standard character drawings. As a general
             rule, an applicant may submit a standard character drawing when the word,
 12          letter, numeral, or combination thereof creates a distinct commercial
             impression apart from any stylization or design element appearing on the
 13          specimen. If a mark remains the same in essence and is recognizable
             regardless of the form or manner of display that is presented, displaying the
 14          mark in standard character format affords a quick and efficient way of
             showing the essence of the mark.
 15   In re wTe Corporation at *2. (emphasis added). PW has been selling products with
 16 the             label continuously since 2002. (SUF 23). Because      legally constitutes
 17 use of POM, POM was never abandoned.
 18                    3.     POM Is Not a Generic Word
 19            “Federal registration of a trademark endows it with a strong presumption of
 20 validity.” KP Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 408 F.3d 596,
 21 604 (9th Cir. 2005). “The general presumption of validity resulting from federal
 22 registration includes the specific presumption that the trademark is not generic.” Id.
 23 The presumption “is a strong one, and the burden on the defendant necessary to
 24 overcome that presumption at summary judgment is heavy.” Zobmondo Ent. LLC.
 25 v. Falls Media, LLC, 602 F.3d 1108, 1115 (9th Cir. 2010).
 26            The Ninth Circuit also uses the “who-are-you/what-are-you” test. Filipino
 27 Yellow Pages, Inc. v. Asian Journal Publications, Inc., 198 F.3d 1143, 1147 (9th
 28 Cir. 1999) “A mark answers the buyer's questions ‘Who are you?’ ‘Where do you
      {2557980.4}                                   7
                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 15 of 27 Page ID
                                 #:3586



  1 come from?’ ‘Who vouches for you?’” Id. But the [generic] name of the product
  2 answers the question ‘What are you?’” Id. quoting 1 J. Thomas McCarthy,
  3 Trademarks and Unfair Competition § 12.01 (3d Ed.1992). “Under this test, if the
  4 primary significance of the trademark is to describe the type of product rather than
  5 the producer, the trademark is a generic term and cannot be a valid trademark.” Id.
  6            Evidence that a challenger may use to prove genericness can include: (1)
  7 generic use by competitors of the mark that has not been contested by the owner of
  8 the mark; (2) generic use of the trademark by the proponent of the trademark; (3)
  9 dictionary definitions to determine public usage; (4) generic usage in the media of
 10 the trademark, such as in trade journals and newspapers; (5) testimony of persons in
 11 the trade; and (6) consumer surveys. McCarthy on Trademarks and Unfair
 12 Competition § 12:13; Filipino Yellow Pages, 198 F.3d at 1150–51.
 13            Here, a review of these factors shows that POM® is not generic. Merriam
 14 Webster Dictionary defines pom as a shortened version of the word “pommy” which
 15 is a disparaging reference to someone from Australia or New Zealand. POM is not
 16 found in any recognized dictionary to mean an abbreviation for, or generic term for,
 17 pomegranate. (SUF 25).
 18            PW is not aware of any beverages that use “pom” on the product to denote
 19 pomegranate flavor. (See Molly Flynn Decl. ¶ 6). To the extent there have been a
 20 handful of beverages who have utilized “pom” on their product, as explained above,
 21 PW has successfully stopped those infringing uses via its trademark policing efforts.
 22            To the extent PW uses POM, it does so in a way to denote the brand name,
 23 and not as a generic or interchangeable word for pomegranate. (See Molly Flynn
 24 Decl. ¶ 7). The one possible exception was when PW was first starting out as a
 25 company, on one of its web pages, it stated that “        stands for pomegranate” (SUF
 26 28). However, as PW’s Director of Marketing explained in her deposition, the
 27 context of that statement was so that consumers would understand that the POM®
 28 brand stood for a company that makes pomegranate based products. (SUF 29). That
      {2557980.4}                                 8
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 16 of 27 Page ID
                                 #:3587



  1 web page has not been utilized in at least 10 years, and that was one web page out of
  2 over at least one-hundred web pages PW has created over the years. (SUF 30).
  3            PW is not aware of any instance where any trade journal or newspaper has
  4 used “pom” to denote or mean pomegranate or generic pomegranate juice. (SUF
  5 31). Pom Wonderful is not aware of anyone in the beverage industry using “pom”
  6 in a generic fashion to refer to a pomegranate. (SUF 32). Finally, Hubbard has
  7 offered no survey to show that “pom” has an independent meaning to consumers or
  8 that POM® has become generic. (SUF 33).
  9            Even the authorative USPTO does not consider “pom” to be generic. If it did,
 10 it would not issue repeated renewals for the POM registered trademark, and also
 11 allow PW to register more than twenty other POM-formative marks to PW over the
 12 last 15 years, the most recent being in May 2015. (SUFs 18 & 34).
 13            The only “evidence” Hubbard has offered as proof that POM is generic, is an
 14 expert report by a branding expert who reached that conclusion by claiming that the
 15 POM is purportedly currently being used on several products, a few of which are
 16 beverages. (SUF 35). “The crucial date for the determination of genericness is the
 17 date on which the alleged infringer entered the market with the disputed mark or
 18 term.” Yellow Cab Co. of Sacramento v. Yellow Cab of Elk Grove, Inc., 419 F.3d
 19 925, 928 (9th Cir. 2005). Hubbard’s PUR pŏm was first sold in 2013. (SUF 36).
 20 Therefore whatever products are on the market now is immaterial. There is no
 21 evidence that any of these products were on the market in 2013. In any event, due to
 22 PW’s policing efforts, none of the beverage products Hubbard’s expert cites to as
 23 containing “pom” are still being sold. (See Danielle Criona Decl. ¶ 12).
 24            Hubbard’s expert conducted no survey, spoke to no-one in the beverage
 25 industry, and didn’t cite a single trade journal before reaching his conclusion that
 26 POM® is generic.2 (SUF 38). His conclusion was also based on his theory that
 27
 28   2
          See Daubert Motion filed concurrently herewith with respect to this expert.
      {2557980.4}                                 9
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 17 of 27 Page ID
                                 #:3588



  1 “pom and its derivative words are descriptive of pomegranate, pomegranate juice or
  2 flavor, and therefore ‘pom’ is a generic term.” (SUF 39). However this conclusion
  3 flies in the face of U.S. Supreme Court authority which holds that incontestable
  4 marks like POM, cannot, as a matter of law, be descriptive of anything.
  5                  4.    Hubbard Has No Evidence POM Wonderful Committed
                           Fraud
  6            Hubbard’s final theory for why that PW does not have a valid trademark is
  7 premised on his other flawed theory that because          does not equal POM, PW’s
  8 filings with the USPTO averring that the POM mark was used in commerce was
  9 fraudulent. However, there are no facts to support a claim that PW committed any
 10 fraud on the USPTO, let alone disputed facts from competent evidence.
 11            As explained and evidenced above, as a matter of law, use of     in
 12 commerce constitutes use of POM. PW has repeatedly submitted images of its
 13 products bearing          as specimens of use for the POM trademark and they have
 14 been accepted by the USPTO. (SUF 40). There can be no fraud where an applicant
 15 or registrant truthfully apprises the trademark office of the manner it uses its mark.
 16 That is because a specimen shows the mark as used on or in connection with the
 17 goods or services, which is what PW did here. See Trademark Rules 2.56(a),
 18 2.76(b)(2), 2.88(b)(2) and 2.161(g). It submitted affidavits, attesting to the fact that
 19 POM was used in commerce and submitted evidence of its use to the USPTO. (SUF
 20 41). Even if PW was mistaken in its belief that its use of       constituted use of
 21 POM (and it is not mistaken), such a mistake would still not amount to fraud or
 22 come even close to it.
 23            A finding of fraud against the USPTO requires a showing of specific facts
 24 establishing a trademark applicant’s specific intent to commit fraud. “[A]n
 25 allegation of fraud in a trademark case, as in any other case, should not be taken
 26 lightly.” In re Bose Corp., 580 F.3d 1240, 1245 (Fed. Cir. 2009). “Thus, we hold
 27 that a trademark is obtained fraudulently under the Lanham Act only if the applicant
 28 or registrant knowingly makes a false, material representation with the intent to
      {2557980.4}                                10
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 18 of 27 Page ID
                                 #:3589



  1 deceive the PTO.” Id.
  2                 In In re Bose Corp., much like Hubbard does here, Hexawave
  3 counterclaimed against Bose Corp. for cancellation of its marks on fraud grounds
  4 because Bose claimed use on all goods in the registration while knowing it had
  5 stopped manufacturing and selling certain goods. Id. at 1242. The court in In re
  6 Bose succinctly outlined the requisite evidence necessary to establish fraud:
  7          Fraud in procuring a trademark registration or renewal occurs when an
             applicant knowingly makes false, material representations of fact in
  8          connection with his application. A party seeking cancellation of a trademark
             registration for fraudulent procurement bears a heavy burden of proof.
  9          Indeed, the very nature of the charge of fraud requires that it be proven ‘to the
             hilt’ with clear and convincing evidence. There is no room for speculation,
 10          inference or surmise and, obviously, any doubt must be resolved against the
             charging party.
 11   In re Bose Corp., at 1243 (internal citations and quotation marks omitted).
 12            Mere evidence that PW knew “or should have known” it made a material
 13 representation of fact in any declaration filed with the USPTO does not amount to
 14 evidence of fraud. See In re Bose Corp. at 1244. “Subjective intent to deceive,
 15 however difficult it may be to prove, is an indispensable element of the [fraud]
 16 analysis.” Id. at 1245. “Mandated by the statute and case law, the Board had
 17 consistently and correctly acknowledged that there is ‘a material legal distinction
 18 between a ‘false’ representation and a ‘fraudulent’ one, the latter involving an intent
 19 to deceive, whereas the former may be occasioned by a misunderstanding, an
 20 inadvertence, a mere negligent omission, or the like.’” In re Bose Corp. at 1243.
 21 “In other words, deception must be willful to constitute fraud.” Id.
 22            There is not a scintilla of competent evidence that Hubbard can rely on to
 23 suggest PW committed any fraud, let alone place material facts in dispute necessary
 24 to prove fraud “to the hilt.”
 25            C.    Hubbard Has Admitted That POM and pŏm Create a Likelihood
                     of Confusion
 26            To the extent this court had any doubt as to whether there is a likelihood of
 27 confusion between POM and pŏm, Hubbard provides clarification for the court. In
 28 2014 and 2015, PW filed two trademark applications with the USPTO for the mark
      {2557980.4}                                   11
                       PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 19 of 27 Page ID
                                 #:3590



  1 POM for additional type of beverages it previously did not have registrations for,
  2 such as fruit and vegetable juice and fruit flavored sodas. (SUF 42). Hubbard has
  3 opposed those applications on the basis that those POM marks create a likelihood
  4 of confusion with his pŏm mark. (SUF 43). The importance of Hubbard’s position
  5 in those two proceedings cannot be overstated. He has clearly admitted that POM
  6 and pŏm are confusingly similar, and as such the latter infringes on the former. It is
  7 doubtful that there has been an easier case to grant summary judgment on the issue
  8 of trademark infringement than this one.
  9            It is worth noting that Hubbard’s filings with the TTAB are not an error or a
 10 legal-strategy-gone-wrong by a pro se litigant. At the time of those opposition filings
 11 and even as of today, he was represented by counsel in those proceedings. (SUF 44).
 12 During his deposition in this case, with his former counsel present to defend him, he
 13 confirmed that he had intended to file those proceedings and stood behind them.
 14 (SUF 45). This amounts to an admission against self-interest that serves a death knell
 15 to Hubbard’s claim that POM and pŏm are not confusingly similar.
 16            D.   The Ninth Circuit Has Held That Under Sleekcraft pŏm Is Likely
                    to Cause Confusion With POM Wonderful’s POM Trademark
 17            The Ninth Circuit has promulgated a multi-factor test to determine a
 18 plaintiffs’ probability of success on the likelihood of confusion question. AMF, Inc.
 19 v. Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir. 1979); see also Rearden LLC v.
 20 Rearden Commerce, Inc., 683 F.3d 1190, 1209 (9th Cir. 2012). The following
 21 factors guide the determination of whether there is a likelihood of confusion, and
 22 hence infringement, between two marks: (1) strength of PW’s marks at issue; (2)
 23 similarity of the marks; (3) proximity or relatedness of the products or services; (4)
 24 defendant’s intent on selecting its mark; (5) evidence of actual confusion; (6)
 25 marketing channels used; (7) likelihood of expansion into other markets; and (8) the
 26 degree of care likely to be exercised by purchasers. Sleekcraft, 599 F.2d at 348-49.
 27 The two most important Sleekcraft factors are similarity of the marks and
 28 relatedness of the goods. GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1205
      {2557980.4}                                 12
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 20 of 27 Page ID
                                 #:3591



  1 (9th Cir. 2000). The court need not address all of the factors, nor must plaintiff
  2 establish that each weighs in its favor to show likelihood of confusion. See Apple
  3 Computer, Inc. v. Formula Int’l. Inc. 725 F.2d 521, 526 (9th Cir. 1984).
  4            In fact, courts grant summary judgment without evidence supporting all of the
  5 Sleekcraft factors. In mophie, Inc. v. Shah, 2014 WL 10988347, *21 (C.D. Cal.
  6 November 12, 2014), Judge Gee granted summary judgment even though there was
  7 insufficient evidence to evaluate three Sleekcraft factors, namely “degree of care,
  8 defendant’s intent and likelihood of expansion.” Id.
  9            Here, there is no factual dispute that 1) the POM mark is strong, 2) that POM/
 10          and pŏm are similar, 3) that the goods are related, 4) that PW’s and Hubbard’s
 11 products flow through the same marketing channels, 5) that Hubbard has
 12 substantially expanded his product into other markets and 6) that the degree of care
 13 by consumers of these products is low. As such there is no material issue of fact
 14 that there is a likelihood of confusion between the marks, and therefore pŏm
 15 infringes on POM®/           .
 16                  1.    There is No Competent Evidence To Create a Triable Issue
                           of Fact That POM Wonderful’s Trademarks Are Strong
 17            A strong mark is one that is likely to make a consumer think a product or
 18 service comes from a particular source. See Official Airline Guides v. Goss, 6 F.3d
 19 1385, 1392 (9th Cir. 1993) (“the stronger a mark, the more likely it is that
 20 consumers will think that a product or service comes from a particular source”).
 21 The “strength of a trademark is evaluated in terms of its conceptual strength and
 22 commercial strength.” GoTo.com, Inc. at 1207. To determine conceptual strength,
 23 marks are placed within one of several categories which are referred to, in
 24 increasing order of distinctiveness, as generic, descriptive, suggestive, arbitrary, or
 25 fanciful. See, Kendall-Jackson Winery, Ltd. v. E. & J. Gallo Winery, 150 F.3d 1042,
 26 1047 (9th Cir. 1998). The more distinctive on the scale, the stronger the mark.
 27            Both the district court (Judge Morrow) and the Ninth Circuit have held that
 28 POM® is suggestive: “The district court correctly found that the ‘POM’ mark is
      {2557980.4}                                 13
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 21 of 27 Page ID
                                 #:3592



  1 suggestive because the word ‘POM’—which is not ascribed independent
  2 pomegranate-related meaning by conventional dictionaries—requires customers to
  3 use some additional imagination and perception to decipher the nature of Pom
  4 Wonderful's goods.” Pom Wonderful LLC, at 1126 (9th Cir. 2014).
  5            Even though POM is suggestive (rather than arbitrary or fanciful), its strength
  6 is further bolstered by its commercial strength, as well as its length of exclusive use,
  7 public recognition and uniqueness. See Accuride Int’l, v. Accuride Corp., 871 F.2d
  8 1531, 1536 (9th Cir. 1989); see also Brookfield Communications, Inc. v. West Coast
  9 Entm’t, Inc., 174 F.3d 1036, 1058 (9th Cir. 1999) (“[t]he stronger a mark – meaning
 10 the more likely it is to be remembered and associated in the public mind with the
 11 mark’s owner – the greater the protection it is afforded by the trademark laws”).
 12            The “commercial strength” of the POM mark is very high. PW has been
 13 marketing and selling its POM® brand in the United States for more than 14 years.
 14 (SUF 46). Just in 2011 and 2012, (the two years before Hubbard launched PUR
 15 pŏm) PW spent over $24 million marketing and promoting the POM® pomegranate
 16 juice brand in North America alone. (SUF 46). This amount was spent on items
 17 such as marketing, promotions, displays, point of sale material, advertising
 18 production, web media and trade shows. (SUF 48). Moreover, over 260 million
 19 bottles of POM pomegranate juice have been sold since 2002. (SUF 49).
 20            When the Ninth Circuit also considered the marketplace recognition of POM®,
 21 it concluded that PW’s suggestive mark is indeed strong: “Considering the national
 22 scope of Pom Wonderful's sales and marketing efforts, the district court correctly
 23 found that Pom Wonderful enjoys sufficient marketplace recognition to render its
 24 ‘POM’ mark commercially strong.” Pom Wonderful LLC, at 1126 (9th Cir. 2014).
 25 There is no factual dispute as to the strength of the POM trademark.
 26                  2.     There is No Competent Evidence To Create a Triable Issue
                            of Fact That POM® and pŏm Are Similar
 27
 28            In evaluating the similarity of the marks, “first, the marks must be considered

      {2557980.4}                                  14
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 22 of 27 Page ID
                                 #:3593



  1 in their entirety and as they appear in the marketplace; second, similarity is adjudged
  2 in terms of appearance, sound, and meaning; and third, similarities are weighed
  3 more heavily than differences.” GoTo.com, Inc., supra at 1206. “The more similar
  4 the marks in terms of appearance, the greater the likelihood of confusion. K-Swiss,
  5 Inc. v . USA Aisiqi Shoes, Inc., 291 F. Supp.2d 1116, 1123 (C.D. Cal. 2003).
  6 Further, if the marks are used “with identical products or services, likelihood of
  7 confusion would follow as a matter of course. Brookfield, 174 F.3d at 1056. “The
  8 first Sleekcraft factor – the similarity of the marks – has always been considered a
  9 critical question in the likelihood-of-confusion analysis.” Id. at 1054.
 10            Here, Hubbard has literally copied PW’s POM® trademark. The only
 11 difference is that Hubbard does not write “POM” in capitalized letters, and there is a
 12 breve above the “o”, such that it is written as “pŏm.” Given that “POM” and “pŏm”
 13 are virtually identical, in sight, and are identical in sound and meaning, the
 14 “similarity of the marks” factor strongly supports a likelihood of confusion. The
 15 Ninth Circuit has determined the legal similarity between POM and pŏm:
 16            Turning first to the appearance of the “POM” mark on the left and the “pŏm”
               mark on the right, the marks possess many obvious visual similarities.
 17            Most significantly, each mark is comprised of the same three letters. These
 18
 19
 20
               three letters are presented in the same order, with a stylized second letter (i.e.,
 21            the “o” in “POM” is heartshaped, and the “o” in “pom” has a breve over it).
               In addition, the letters in both marks are uniformly cased (i.e., they are either
 22            all uppercase, or all lowercase) and presented in a simplistic, white front that
               is offset by a dark maroon background.
 23                                               *     *     *
               Balancing the marks' many visual similarities, perfect aural similarity, and
 24            perfect semantic similarity more heavily than the marks' visual
               dissimilarities—as we must—the similarity factor weighs heavily in Pom
 25            Wonderful's favor. And, because a lesser degree of similarity is required
               when a trademark holder's mark is strong, the commercial strength of the
 26            “POM” mark amplifies the significance of the marks' many similarities. See
               Perfumebay.com Inc. v. eBay Inc., 506 F.3d 1165, 1174 (9th Cir. 2007)
 27            (“[T]he fact that the similarity involves the use of a much stronger mark
               would make that similarity weigh more heavily in the analysis of this factor.”
 28            (Internal quotation marks omitted)). Mistakenly weighing the marks'

      {2557980.4}                                   15
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 23 of 27 Page ID
                                 #:3594



  1      differences more heavily than their similarities, the district court clearly erred
         in finding that the similarity of marks factor weighed against Pom Wonderful.
  2 Pom Wonderful LLC v. Hubbard, at 1128-1130 (9th Cir. 2014)(emphasis added)
  3                  3.      There Is No Competent Evidence To Create a Triable Issue
                            of Fact That The Products Are Related
  4            There is a greater likelihood of confusion when the goods themselves are very
  5 similar. “[L]ess similarity between the marks will suffice when the goods are
  6 complementary, [and] the products are sold to the same class of purchasers, ... or the
  7 goods are similar in use and function.” Sleekcraft, 599 F.2d at 350 (citations omitted).
  8            Relatedness of a product is construed broadly for purposes of a trademark
  9 infringement analysis. For instance, in Polar Corp. v. PepsiCo, Inc., 789 F. Supp. 2d
 10 219, 233 (D. Mass. 2011), defendant argued that its sodas were not “related” to
 11 plaintiffs’ slush drink product because (1) unlike plaintiffs’ product, its product was
 12 dispensed from stand-alone machines, and not sold in bottles; (2) plaintiffs’ products
 13 were slush drinks that were brightly-colored frozen beverages intended for immediate
 14 consumption, which were distinguishable in overall look and feel from other
 15 beverages; and (3) slush drinks are typically consumed in the afternoon as a snack, but
 16 carbonated soda beverages are typically consumed with a meal. Id. Notwithstanding
 17 these differences the Court found the beverages to be related for purposes of this
 18 relatedness factor and issued a preliminary injunction. The Court reasoned:
 19            Although slush beverages are “distinguishable in overall look and feel” from
               sodas and flavored water, that fact alone is not dispositive. The question is
 20            not whether consumers would confuse a slush drink with a soda, but whether
               they would reasonably conclude that a soda manufacturer and distributor
 21            would also produce slush drinks.
 22 Polar Corp. at 232 (emphasis added).
 23            Here, Defendant’s and PW’s products are clearly related: both are beverages.
 24 Both are pomegranate based or pomegranate flavored. Both are sold in single serve
 25 containers. (SUF 50). Both products are sold in the refrigerated section of
 26 supermarkets. (SUF 51). The District Court and the Ninth Circuit also found that
 27 PW’s and Hubbard’s products are related:
 28            The district court correctly found—and Pur does not contest—that fruit-juice

      {2557980.4}                                 16
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 24 of 27 Page ID
                                 #:3595



  1        beverages and fruit-flavored energy drinks are sufficiently complementary
           and related that a reasonable consumer could connect them and be confused
  2        regarding the source of the products. Both beverages are pomegranate-based
           or pomegranate-flavored, single-serve, and marketed for their healthful
  3        properties. Although Pur's “pŏm” carbonated energy drink is somewhat
           different from Pom Wonderful's 100% juice beverages, the use and function
  4        of these products is clearly related.
    Pom Wonderful LLC at 1127 (9th Cir. 2014).
  5
           Hubbard claims that his product is not even an energy drink. (SUF 52). This
  6
    further supports the position that the products are related. Even though PW and
  7
    PUR’s beverages are not identical in that one is carbonated and comes in a can
  8
    while PW’s products do not, there is no factual dispute that they are undoubtedly
  9
    “related” for purposes of likelihood of confusion.
 10
                  4.    There Is No Competent Evidence To Create a Triable Issue
 11                     of Fact That Pom’s and Hubbard’s Products Flow Through
                        the Same Marketing And Trade Channels
 12
           The Ninth Circuit has held that “[c]onvergent marketing channels increase the
 13
    likelihood of confusion. Therefore, the courts examine the proximity of the
 14
    marketing channels to one another and whether direct competition exists.”
 15
    Nutri/System, Inc. v. Con-Stan Indus., Inc., 809 F.2d 601, 606 (9th Cir. 1987). Both
 16
    PW and Hubbard sell single-serve beverages which sell in overlapping trade
 17
    channels such as supermarkets. (SUFs 50 & 51). Trade channels in this case are not
 18
    just convergent, but identical in some instances. By way of example, both PW’s
 19
    products and Defendant’s products were at one point sold in the exact same super
 20
    market chain - Albertson’s. (SUF 53).
 21
           PW need not show that the POM products and PUR pŏm are sold in the exact
 22
    same brick and mortar stores – an error made at the district court level in this case,
 23
    and as pointed out by the Ninth Circuit: “The district court clearly erred in finding
 24
    that this factor weighed against Pom Wonderful, mistakenly requiring Pom
 25
    Wonderful to prove that its beverages were sold in the very same brick-and-mortar
 26
    stores as Pur's ‘pom’ beverage.” Pom Wonderful LLC at 1131 (9th Cir. 2014).
 27
           PUR pŏm and PW are sold in overlapping states. (SUFs 54 & 55).
 28
      {2557980.4}                               17
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 25 of 27 Page ID
                                 #:3596



  1 Therefore, the geographic location of their sales channels also overlap. Finally, both
  2 PW POM products and Hubbard’s PUR pŏm product are marketed through, and
  3 sold on the internet. (SUF 37).
  4            The overlap of trade channels and the similarity in marketing of these
  5 competing products strongly supports a finding of likelihood of confusion.
  6                  5.    There is No Competent Evidence To Create a Triable Issue
                           of Fact That Given The Types Of Goods At Issue, The
  7                        Degree Of Care Likely Exercised By Consumers Is Low
  8            Beverages are considered a “fast moving consumer good” available to a large
  9 portion of the population, purchased by consumers frequently and with wide
 10 distribution and relatively low cost. A PUR pŏm beverage costs approximately
 11 $2.00. (SUF 26). PW’s 8 oz. POM pomegranate juice product typically costs $1.99.
 12 (SUF 27). As such, “consumers of such are likely to pay little care and attention
 13 when purchasing these products and therefore are inclined to be less sophisticated
 14 buyers.” Tri-Star Pictures, Inc. v. Unger, 14 F.Supp.2d 339, 358 (S.D.N.Y. 1998);
 15 CSC Brands LP v. Herdez Corp., 191 F.Supp.2d 1145, 1153 (E.D. Cal. 2001)
 16 (“Given that these beverages are sold in supermarkets and are low cost, the degree of
 17 care likely to be exercised by purchasers is minimal. ‘[W]hen dealing with
 18 inexpensive products, customers are likely to exercise less care, thus making
 19 confusion more likely.’” quoting Brookfield, 174 F.3d at 1060.) Given the low
 20 degree of care exercised by consumers in purchasing a relatively inexpensive single-
 21 serve beverage, this factor strongly supports a finding of likelihood of confusion.
 22                  6.    There Are No Material Issues Of Fact With Respect To The
                           Remaining Three Sleekcraft Factors All Of Which Are
 23                        Neutral And Do Not Affect a Finding Of Likelihood of
                           Confusion.
 24            The three remaining Sleekcraft factors are likelihood of expansion, actual
 25 confusion and infringer’s intent. The likelihood of expansion factor focuses on
 26 “whether existence of the allegedly infringing mark is hindering the plaintiffs’
 27 expansion plans.” Surfvivor Media, Inc. v. Survivor Prods., 406 F.3d 625, 634 (9th
 28 Cir. 2005). The likelihood of expansion factor “is relatively unimportant where the
      {2557980.4}                                 18
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 26 of 27 Page ID
                                 #:3597



  1 two companies already compete to a significant degree.” Brookfield, 174 F.3d at
  2 1055. As previously shown, PW and Defendant are competitors in the beverage
  3 product market. Both products are sold in the same trade channels.
  4             The actual confusion factor is also not necessary for this court to grant PW’s
  5 motion. “It is black letter law that actual confusion need not be shown to prevail
  6 under the Lanham Act since actual confusion is very difficult to prove and the act
  7 requires only a likelihood of confusion as to source.” Lois Sportswear, U.S.A., Inc.
  8 v. Levi Strauss & Co., 799 F.2d 867, 875 (2nd Cir. 1986); see also GoTo.com, Inc. v.
  9 Walt Disney Co., 202 F.3d 1199, 1206 (9th Cir. 2000); Sleekcraft, 599 F.2d at 353.
 10 When, as in this case, the marks in question are virtually identical, or at least
 11 extremely similar, and there is a reasonable likelihood that consumers will assume
 12 that a mark is associated with another source because of that similarity, a likelihood
 13 of confusion will be found. See, e.g. Academy of Motion Picture Arts v. Creative
 14 House, 944 F.2d 1446, 1456 (9th Cir. 1991). Hubbard has no evidence to dispute
 15 that pŏm and POM® are similar, that both of these marks are used on beverages,
 16 and that both beverages are pomegranate flavored.
 17            Furthermore, actual confusion is unnecessary to grant summary judgment. In
 18 Oculu, LLC v. Oculus VR, Inc., 2015 WL 3619204 (C.D. Cal. June 8, 2015), the
 19 court granted summary judgment finding likelihood of confusion even though there
 20 was a “lack of any competent evidence of actual confusion despite the fact that
 21 marks have co-existed for three years” Id. at *13. “However this fact is not
 22 dipositive.” Id. Accord, Tommy Bahama Grp., Inc. v. Sexton, 2009 WL 4673863, at
 23 *10 (N.D. Cal. Dec. 3, 2009) aff'd, 476 F. App'x 122 (9th Cir. 2012) granting
 24 summary judgment despite no evidence of actual confusion. In Hokto Kinoko Co. v.
 25 Concord Farms, Inc., 738 F.3d 1085, (9th Cir. 2013) the Ninth Circuit upheld the
 26 district court’s granting of summary judgment despite no evidence of actual
 27 confusion. Id. at 1098. In Au-Tomotive Gold, Inc. v. Volkswagen of Am., Inc., 457
 28 F.3d 1062, 1070 (9th Cir. 2006) the Ninth Circuit reversed the denial of a summary
      {2557980.4}                                  19
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
Case 2:13-cv-06917-RGK-JPR Document 176 Filed 05/18/16 Page 27 of 27 Page ID
                                 #:3598



  1 judgment motion even though there was no evidence of actual confusion.
  2            The mere absence of intent is also irrelevant to granting this motion since
  3 intent is not a requirement for infringement. E. & J. Gallo Winery v. Gallo Cattle
  4 Co., 955 F.2d 1327, 1341, modified on other grounds, 967 F.2d 1280 (9th Cir. 1992)
  5 (“[a] party claiming trademark infringement need not demonstrate that the alleged
  6 infringer intended to deceive consumers”). “Similarly, evidence of the defendant's
  7 intent to confuse customers or of product expansion is not required for a finding of
  8 likelihood of confusion.” Pom Wonderful LLC v. Hubbard at 1131 (9th Cir. 2014)
  9 citing GoTo.com, 202 F.3d at 1208 (characterizing the intent factor as minimally
 10 important and explaining that intent to confuse consumers is not necessary to
 11 demonstrate a likelihood of confusion).
 12            E.    POM Wonderful Is Entitled To Summary Judgment On Its
                     Remaining Claims.
 13            Since PW is entitled to summary adjudication on its trademark infringement
 14 claim, it is also entitled to summary adjudication on its remaining claims:
 15            Because partial summary judgment is proper on Conversive's infringement
               claim, it is also warranted on Conversive's false designation of origin and
 16            unfair competition claims under 15 U.S.C. § 1125(a), Cal. Bus. & Prof. Code
               § 17200, and California common law as well. [S]tate common law claims of
 17            unfair competition and actions pursuant to California Business and
               Professions Code § 17200 are ‘substantially congruent’ to claims made under
 18            the Lanham Act.”);
 19 Conversive v. Conversagent, Inc., 433 F.Supp.2d 1079, 1093-94 (C.D. Cal. 2006).
 20 IV.        CONCLUSION
 21            POM Wonderful respectfully requests that the Court grant its motion.
 22
 23    DATED: May 16, 2016                   ROLL LAW GROUP PC
 24
 25
                                             By:         /s/ Michael M. Vasseghi
 26
                                                   Michael M. Vasseghi
 27                                                Attorneys for Plaintiffs
 28
      {2557980.4}                                  20
                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
